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                 5                                   UNITED STATES DISTRICT COURT
                 6                                          DISTRICT OF NEVADA
                 7                                                      ***
                 8       UNITED STATES OF AMERICA,                              Case No. 2:12-CR-463 JCM (VCF)
                 9                                              Plaintiff(s),                      ORDER
               10               v.
               11        FREDERICK VERNON WILLIAMS, et al.,
               12                                             Defendant(s).
               13
               14              Presently before the court is the United States and defendant Frederick Vernon Williams’s

               15       third stipulation to continue defendant’s sentencing hearing. (ECF No. 776).
               16
                               Defendant asks the court to continue his hearing for at least forty-five days. (Id. at 1). The
               17
                        parties represent that defendant’s counsel will be out of the district during the current date set for
               18
                        the hearing. (Id.) They also indicate that defense counsel requires additional time to prepare formal
               19
               20       objections to the presentence investigation report. (Id.)

               21              The court finds that good cause to continue the hearing forty-five days does not exist. The
               22
                        jury in this matter returned its verdict on January 15, 2016, over five months ago. (ECF Nos.
               23
                        724727). Mr. Williams’s sentencing hearing has been continued on the parties’ stipulations twice
               24
               25       previously based on the defendant’s attorney’s need for additional time to prepare. (See ECF Nos.

               26       756 and 772).

               27
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James C. Mahan
U.S. District Judge
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                1            Defendant represented to the court in his most recent stipulation to continue that defendant
                2     would be prepared for a June 30, 2016, sentencing date. (See ECF Nos. 772). In fact, Mr.
                3
                      Williams’s attorney asked for a hearing on June 30, 2016, specifically. (Id. at 1).
                4
                             Moreover, the probation officer completed the presentence report on March 10, 2016, over
                5
                6     three months ago. Under Federal Rule of Criminal Procedure 32, “the parties must state in writing

                7     any objections, including objections to material information, sentencing guideline ranges, and
                8     policy statements contained in or omitted from the report” within fourteen days of receiving the
                9
                      report. FED. R. CRIM. P. 32(f)(1). Any objections defendant’s attorney has not yet filed would thus
              10
                      be untimely.
              11
              12             In conclusion, the court finds that a short continuance is warranted, but will not continue

              13      the sentencing hearing for more than forty-five days, given the procedural history of the case, as
              14      discussed above. Defendant’s sentencing hearing will instead be continued to July 29, 2016.
              15
                             Accordingly,
              16
                             IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United States and
              17
              18      defendant Frederick Vernon Williams’s stipulation to continue sentencing hearing (ECF No. 776)

              19      be, and the same hereby is, GRANTED in part and DENIED in part, consistent with the foregoing.
              20             IT IS FURTHER ORDERED that defendant Frederick Williams’s sentencing hearing
              21
                      currently scheduled for Thursday, June 30, 2016, at 11:00 A.M. be VACATED and CONTINUED
              22
                      to Friday, July 29, 2016, at 10:00 A.M.
              23
              24      ...

              25      ...
              26      ...
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                      ...
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James C. Mahan
U.S. District Judge                                                   -2-
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                1              No further continuances will be granted absent the filing of a motion and showing of good
                2     cause.
                3              DATED June 20, 2016.
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                5                                                   __________________________________________
                                                                    UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                  -3-
